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     Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                         )
     In re:                                                              ) Chapter 11
                                                                         )
     AEGEAN MARINE PETROLEUM NETWORK                                     ) Case No. 18-13374 (MEW)
     INC., et al.,1
                                                                         )
                                Debtors.                                 ) (Jointly Administered)
                                                                         )

                SECOND AMENDED2 AGENDA FOR HEARING TO BE HELD
              FEBRUARY 14, 2019, AT 10:00 A.M. (PREVAILING EASTERN TIME)

     Time and Date of Hearing: February 14, 2019, at 10:00 a.m. (prevailing Eastern Time)

     Location of Hearing:               The Honorable Judge Michael E. Wiles
                                        United States Bankruptcy Court for the Southern District of New York
                                        Alexander Hamilton Custom House
                                        One Bowling Green, Courtroom 617
                                        New York, New York 10004
     Copies of Motions:                 A copy of each pleading can be viewed on the Court’s website at
                                        http://www.nysb.uscourts.gov and the website of the Debtors’ notice
                                        and claims agent, Epiq Corporate Restructuring LLC, at
                                        http://dm.epiq11.com/aegean. Further information may be obtained via
                                        email at aegean@epiqglobal.com or by calling 212-225-9200.


 1
       Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
       of their tax identification, registration, or like numbers is not provided herein. A complete list of such information
       may be obtained on the website of the Debtors’ claims and noticing agent at http://dm.epiq11.com/aegean. The
       location of Debtor Aegean Bunkering (USA) LLC’s principal place of business and the Debtors’ service address
       in these chapter 11 cases is 52 Vanderbilt Avenue, Suite 1405, New York, New York 10017.
 2
       Amended items appear in bold.
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 I.   Matters Going Forward

               1.      Moelis Retention Application. Debtors’ Application for Entry of an Order
                       (A) Authorizing the Employment and Retention of Moelis & Company LLC
                       as Its Investment Banker and Financial Advisor for the Debtors and Debtors
                       in Possession Effective Nunc Pro Tunc to the Petition Date; (B) Waiving
                       and Modifying Certain Time-Keeping Requirements; and (C) Granting
                       Related Relief [Docket No. 289].

                       Objection Deadline: February 1, 2019, at 4:00 p.m. (prevailing Eastern
                       Time).

                       Responses Received: Informal comments from the Office of the United
                       States Trustee (the “U.S. Trustee”) and the official committee of unsecured
                       creditors (the “Committee”).

                       Replies Filed: None.

                       Related Documents:

                       A.     Notice of Adjournment            of   February   13,   2019   Hearing
                              [Docket No. 333].

                       B.     Corrected Notice of Adjournment of February 13, 2019 Hearing
                              [Docket No. 338].

                       C.     Supplemental Declaration of Zul Jamal in Support of the Debtors
                              Application for Entry of an Order (A) Authorizing the Employment
                              and Retention of Moelis & Company LLC as Its Investment Banker
                              and Financial Advisor for the Debtors and Debtors in Possession
                              Effective Nunc Pro Tunc to the Petition Date; (B) Waiving and
                              Modifying Certain Time Keeping Requirements; and (C) Granting
                              Related Relief [Docket No. 357].

                       D.     Notice of Filing of Revised Order (I) Granting Debtors’
                              Application (A) Authorizing the Employment and Retention of
                              Moelis & Company LLC as Investment Banker and Financial
                              Advisor for the Debtors and Debtors in Possession, Effective
                              Nunc Pro Tunc to the Petition Date; (B) Waiving and Modifying
                              Certain Time-Keeping Requirements; and (C) Granting
                              [Docket No. 367].

                       Status: This matter is going forward.


               2.      Disclosure Statement Motion. Debtors’ Motion for Entry of an Order
                       (I) Approving the (A) Adequacy of Information in the Disclosure
                       Statement, (B) Solicitation and Notice Procedures, (C) Forms of Ballots and

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                  Notices in Connection Therewith, and (D) Certain Dates with Respect
                  Thereto, and (II) Granting Related Relief [Docket No. 300].

                  Objection Deadline: February 12, 2019, at 4:00 p.m. (prevailing Eastern
                  Time).

                  Responses Received: Informal comments from the U.S. Securities &
                  Exchange Commission (the “SEC”).

                  A.     Objection of the United States Trustee to Disclosure Statement for
                         Joint Chapter 11 Plan of Aegean Marine Petroleum Network Inc. and
                         Its Debtor Affiliates [Docket No. 355].

                  B.     Lead Plaintiffs Objection to Approval of Disclosure Statement and
                         Solicitation Procedures for Joint Plan of Reorganization of Aegean
                         Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant to
                         Chapter 11 of the Bankruptcy Code [Docket No. 356].

                  C.     Limited Objection to Approval of Revised Disclosure Statement
                         for the Joint Plan of Reorganization of Aegean Marine Petroleum
                         Network, Inc. and its Debtor Affiliates Pursuant to Chapter 11 of
                         the Bankruptcy Code [Docket No. 366].

                  Replies Filed:

                  A.     Debtors’ Omnibus Reply in Support of Their Motion for Entry of an
                         Order (I) Approving the (A) Adequacy of Information in the
                         Disclosure Statement, (B) Solicitation and Notice Procedures,
                         (C) Forms of Ballots and Notices in Connection Therewith, and
                         (D) Certain Dates with Respect Thereto, and (II) Granting Related
                         Relief [Docket No. 359].

                  B.     Reply of the Official Committee of Unsecured Creditors of Aegean
                         Marine Petroleum Network Inc., et al. to Objections to the Debtors’
                         Disclosure Statement Motion [Docket No. 361].

                  Related Documents:

                  A.      Notice of Disclosure Statement Hearing [Docket No. 301].

                  B.      Disclosure Statement for the Joint Plan of Reorganization of Aegean
                          Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant
                          to Chapter 11 of the Bankruptcy Code [Docket No. 302].

                  C.      Joint Plan of Reorganization of Aegean Marine Petroleum Network
                          Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
                          Bankruptcy Code [Docket No. 303].


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                  D.     Notice of Filing of Exhibits to the Disclosure Statement for the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.,
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 316].

                  E.     Notice of Filing of Exhibit to the Disclosure Statement for the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 317].

                  F.     Affidavit of Service [Docket No. 323].

                  G.     Notice of Filing of Revised Joint Plan of Reorganization of Aegean
                         Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant
                         to Chapter 11 of the Bankruptcy Code [Docket No. 360].

                  H.     Notice of Filing of Revised Disclosure Statement for the Joint Plan
                         of Reorganization of Aegean Marine Petroleum Network Inc. and
                         Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
                         [Docket No. 362].

                  I.     Notice of Filing of Revised Order (I) Approving the (A) Adequacy
                         of Information in the Disclosure Statement, (B) Solicitation and
                         Notice Procedures, (C) Forms of Ballots and Notices in Connection
                         Therewith, and (D) Certain Dates with Respect Thereto, and (II)
                         Granting Related Relief [Docket No. 364].

                  Status: This matter is going forward.




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 New York, New York                   /s/ Marc Kieselstein, P.C.
 Dated: February 13, 2019             Marc Kieselstein, P.C.
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